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                                                                         Page 2
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  24
  25




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                                                                         Page 5
    1                                STIPULATIONS

    2         The deposition of Patrick Henry Lacour, it is stipulated

    3    by and between counsel for plaintiffs and counsel for

    4    defendants, is taken at the Jones Law Firm, in Alexandria,

    5    Louisiana, on Tuesday, October 22, 2019, before Dianne Stewart,

    6    Certified Court Reporter.

    7         This deposition is taken by counsel for plaintiffs for the

    8    uses as provided for in the Federal Code of Civil Procedure,

    9    according to notice as provided by law.

   10         The parties hereto waive all formalities in connection

   11    with the taking of this deposition, except the swearing of the

   12    witness, the reduction of the questions and answers to print,

   13    and the reading and signing of the deposition transcript by the

   14    witness.   All objections are reserved except as to the form of

   15    the question and the responsiveness of the answer.

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                                                                          Page 6
    1                                 Patrick Henry Lacour
    2                               4806 Wendover Boulevard
    3                             Alexandria, Louisiana 71303
    4          PATRICK HENRY LACOUR, after being duly sworn
    5     to tell the truth, the whole truth, and nothing
    6     but the truth, was examined and testified as
    7     follows:
    8                                       EXAMINATION
    9     BY MR. POWELL:
  10      Q    Mr. Lacour, my name is Davis Powell with the
  11           firm of Davidson and Summers in Shreveport.
  12           We represent Barbara Lollar and Magnolia
  13           Island Plantation, LLC in this matter.               You
  14           did receive a subpoena to appear here today,
  15           and I have marked that as Exhibit 1.              I just
  16           want you to review it and confirm that you did
  17           receive this.
  18      A    I did receive this.
  19      Q    Okay.     Give me your full name.
  20      A    Patrick Henry Lacour.
  21      Q    And is this address on the subpoena correct?
  22      A    Where is the address on the subpoena?
  23      Q    At the top.
  24      A    Okay.     Yes.
  25      Q    And could you read that off for me?




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                                                                         Page 15
    1          Carr I and Lucky-Carr II.           And so again, those
    2          were the background that formed the fact
    3          pattern for my work.
    4     Q    On your base yield -- and I'm getting into the
    5          schedule, the first schedule you see there.
    6          Do you see that?
    7     A    Yes.
    8     Q    On your base yield you use a U.S. prime rate.
    9          Could you explain your reasoning to use the
  10           U.S. prime rate?
  11      A    That's typically in commercial loans, and I
  12           think bankers would tell you the same thing.
  13           You start with a prime rate, whatever the
  14           quoted prime rate is for that time, and I
  15           looked it up.       Also, in my experience as a
  16           contract CFO and in my work, it's typically a
  17           base rate -- prime, plus something.              And in
  18           this case, in working with the bankers that I
  19           know, it was prime, plus two and a quarter.
  20      Q    Well, that is my next question.             How did you
  21           arrive at the value of two and a quarter?
  22      A    Again, personal references with -- with
  23           bankers that I know.
  24      Q    And who are those?
  25      A    Randy Ponthier (phonetic) at Southern Heritage




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                                                                        Page 16
    1          is one.     I don't know that I contacted him
    2          about this specifically.           But in the course of
    3          my work, that's typically what the going rate
    4          was at the time.
    5     Q    How do you know that?
    6     A    Again, from just working.
    7     Q    I just need you to explain a little further
    8          about what your basis is for the 2.25.               Okay?
    9          So you mentioned a banker's name, but you
  10           didn't contact him regarding this particular
  11           item, so could you just -- and I understand
  12           you have some basis, --
  13      A    Yeah.
  14      Q    -- but could you elaborate on that?
  15      A    Well, for instance, the -- one of my clients
  16           at the time was working on a refinance, and we
  17           were working with several banks, Regions Bank
  18           being one of them.         I have a contact there,
  19           Kevin Smith.       And I'm certain that in the
  20           context of that refinance for that client, he
  21           was telling me that typically it's prime, plus
  22           two and a quarter at that time.             So that was
  23           my basis for it.
  24      Q    So you believed that Kevin Smith told you that
  25           it would be two and a quarter percent for the




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    1          have suggested more liquidity.            But if you had
    2          a third party transaction -- say, if Exxon
    3          Mobile had decided to buy this note, that
    4          could have demonstrated some liquidity.
    5     Q    Discuss how you arrived at 10 percent as the
    6          adjustment for lack of liquidity.
    7     A    Based on my judgment, these factors that you
    8          see on the adjustments are basically -- if I
    9          look at the base yield and I determine what
  10           these factors are in relation to the base
  11           yield, that's me adding more risks to the
  12           product, more risk to the promissory note.
  13           And so again, using the base yield as a
  14           starting point, I feel like the lack of
  15           liquidity was one and a third times higher
  16           because of that, because of the factors that
  17           we just spoke about.
  18      Q    But you, in your own judgment, came up with
  19           one and one third times higher.             Correct?
  20      A    Correct.
  21      Q    Lack of Marketability.          Describe lack of
  22           marketability.
  23      A    I think to a third party, looking at it based
  24           on the fact pattern that we saw, it was an
  25           original transaction between husband and wife,




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    1          and so -- and there was also no personal
    2          guarantee given that I could see, so I think a
    3          third party coming into this would say this
    4          may not be a -- this may not be a transaction
    5          that I can rely on, as a third party.
    6     Q    What's the difference between that and lack of
    7          liquidity?
    8     A    Well, lack of liquidity suggests that you
    9          can't make the note.         Right?     So in the
  10           current instance, the first payment was due
  11           after one year, so it wasn't as though they
  12           were making payments every month, and we had
  13           no history of any payments.           So the two are
  14           similar in the sense that if there's a lack of
  15           liquidity, that's a sign that there's probably
  16           a lack of marketability.           If you can see that
  17           a company or an instrument is paying, then
  18           people are more interested to buy it.
  19      Q    Well, your definition of lack of liquidity was
  20           that the note could not be readily conveyed,
  21           and it seems very similar to lack of
  22           marketability.       And now you're saying lack of
  23           liquidity is something different, or I'm
  24           hearing that.       Could you clarify?        Because
  25           they seem similar.




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    1     A    They are very similar, and I would clarify to
    2          the comments that I just made that a lack of
    3          liquidity is the inability to make payment on
    4          something.      And so marketability is similar to
    5          that, in that when you are -- when you have a
    6          lack of liquidity, you have a lack of
    7          marketability.
    8     Q    Which one has to do with lack of market for
    9          the note?
  10      A    Lack of market for the note, lack of
  11           marketability.
  12      Q    So lack of liquidity doesn't have to do with
  13           whether the note can be bought or sold
  14           readily?
  15      A    In the sense that -- to the extent that if the
  16           note is not liquid, okay, or if the holder of
  17           the note is not liquid and not making
  18           payments, that will affect marketability.
  19      Q    And how did you arrive at five percent for
  20           that adjustment?
  21      A    Again, using the base yield as a starting
  22           point, I think that risk factor was five
  23           percent, as compared to seven and a half
  24           percent of what the base yield would be.
  25      Q    It's your response that you came up with that




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  1          percentage on your own.          Correct?
  2     A    Correct.     That's my judgment.
  3     Q    Describe for me Quality of Borrower.
  4     A    Okay.     So Magnolia Island Plantation was
  5          formed on October 31st of 2017.             There was no
  6          credit history, no payment history that I
  7          could see.      And again, being formed two days
  8          earlier, I couldn't really substantiate the
  9          quality of the borrower.          Also, it was formed
10           by Mr. Lollar, so --
11      Q    What did you do to attempt to substantiate the
12           quality of the borrower?
13      A    Again, I didn't have anything that showed any
14           credit history or payment history, or -- I
15           didn't have any financials on Magnolia Island
16           Plantation.      And it was formed two days
17           earlier, so -- and it was formed by Mr.
18           Lollar, but that's the information that I had.
19      Q    Did you request any financials?
20      A    No, I -- no.
21      Q    Did you do any independent research on the
22           quality of the borrower?
23      A    No.
24      Q    When your note says, "Magnolia Island
25           Plantation was formed on October 31st, 2017,"




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  1          valuation as of October 19th, 2018.              Correct?
  2     A    Correct.
  3     Q    So was there any research done into the credit
  4          history from the time of formation up until
  5          the time of your report?
  6     A    I didn't have any documents from Magnolia
  7          Island Plantation.
  8     Q    Okay.     Number four is Quality of Collateral.
  9          Excuse me.      I need to take a step back, and
10           let me just get your answer on the 10 percent
11           on Quality of Borrower.          Was that a factor
12           that was your own judgment?
13      A    My professional judgment, yes.
14      Q    Okay.     Number four, Quality of Collateral.
15           Could you describe that for me?
16      A    Well, again, the fact pattern here is that
17           this note was created during the litigation.
18           That's Lucky-Carr I, and then that was
19           followed by Lucky-Carr II.           I would say
20           there's a cloudy title in the sense that there
21           was a Notice of Lis Pendens filed on February
22           20th of 2018.       I even cited the instrument
23           number, and so --
24      Q    If you could -- we're going to get to the
25           notes.     I just want you to explain the factor




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  1          the status of Lucky-Carr I was, vis-a--vis
  2          appeals.
  3     Q    Are you aware that the judgment in Lucky-Carr
  4          I was reversed in its entirety shortly after
  5          the Sheriff's sale?
  6     A    I was not aware of that.
  7     Q    Seven percent on Quality of Collateral.
  8          That's a pretty specific number.             How did you
  9          arrive at the number?
10      A    Again, just in relation to the base yield,
11           what additional risk factor would that add,
12           and that's my professional judgment.
13      Q    Okay.     So the lis pendens is -- in your
14           judgment was a claim against the collateral,
15           and it's a -- only seven percent, as compared
16           to the ones above it that are 10 percent.
17           Correct?
18      A    Correct.
19      Q    Okay.     Number five is Coverage of Collateral
20           to Note.     Before we get into the specifics of
21           this case, just give me a brief explanation of
22           how that -- of what that factor is.
23      A    Well, very simply, if you had a free and clear
24           title to an asset.         In this case, land.        And
25           that land was worth -- again, in this case the




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  1          note was roughly 1.8 million dollars, or 1.7
  2          million dollars.        If you had collateral --
  3          again, that was free and clear title, that
  4          would suggest that regardless of anything that
  5          would happen with liquidity, with the
  6          borrower's liquidity, that you would always
  7          have this land that you could -- or this asset
  8          or collateral that you could be made whole.
  9     Q    And how did you base your calculations on
10           coverage of collateral to the note?
11      A    So there is an appraisal by Glenn A. Russ
12           Wilson, Junior, and I did see that appraisal.
13           In that appraisal he -- and that was an
14           appraisal of 300 -- and I'm going off memory
15           here, 353 and some-odd acres, I believe.                So I
16           could be -- I could be off somewhat, but he
17           did the original appraisal for a larger amount
18           of land.     Apparently Ms. Lollar sold off
19           roughly 80 acres of land, so what Ms. Lollar
20           transferred to Mr. Lollar was 280 acres, and
21           to be specific, 280.135 acres.            And so using
22           the value that Mr. Wilson found of $4,000 per
23           acre in his appraisal, I can then use that to
24           multiply by the acreage that was transferred,
25           and that's how I came up with roughly 1.12




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  1          million dollars of collateral.
  2     Q    You mentioned earlier that you did not run
  3          title on this tract of land.            How did you come
  4          to the understanding that there was a sale of
  5          some of the collateral property?
  6     A    Well, I think in the Cash Deed with Special
  7          Mortgage -- again, if I'm using that title
  8          correctly; I may be off a little bit.               It
  9          actually has listed in there, if you have a
10           copy, that it was less and except 80 acres.                  I
11           mean, and it may be 80 point-something.                  Okay?
12           But I believe the actual Cash Deed between Ms.
13           Lollar and Mr. Lollar reference that.
14      Q    Do you recall what year the appraisal by Mr.
15           Wilson was?
16      A    I do not.
17      Q    Do you recall if the appraisal was surface
18           only, or did it include any other portion of
19           land?
20      A    I believe he was only -- land only surface.
21      Q    I don't see any other note on Coverage of
22           Collateral to the Note, as far as what was
23           relied upon.       Is that the only value you gave
24           to the collateral?
25      A    Yes, because I think there were -- there was a




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  1          your previous deposition. [Sic].             It was
  2          related to Mr. Shelton.          Is that right?
  3     Q    I'm sorry.      I'm not understanding what you're
  4          asking now.
  5     A    Well, I think you're saying you wished that
  6          you had this email with this Bossier Sheriff.
  7     Q    No.    I was just asking you simply what did the
  8          Sheriff provide you, if anything.
  9     A    That's it.      They wanted me --
10      Q    And you said the Oath of Appraisement, and I
11           said, "When did that occur?"            And you said, "I
12           don't know."
13      A    Oh, I mean, it's that week.           I mean, the date
14           I can't remember.        It would have been the week
15           of -- you know, I think that was a Thursday or
16           a Friday, October 19th.
17      Q    How did they provide it to you?
18      A    Via email.
19      Q    Do you remember who emailed it to you?
20      A    I have her name at the office.            I can't
21           remember her name.
22      Q    All right.      This is Exhibit 3.        This is an
23           email with attachments that is dated October
24           10th, 2018.      This is an email from Mr. Curtis
25           Shelton to Patrick Lacour.           Are you familiar




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  1          with this email?
  2     A    I am.
  3     Q    And if you look near the bottom, there are
  4          attachments listed near the bottom of that
  5          page.     They're bulleted right there.           Do you
  6          see that second one that says Oath of
  7          Appraiser?
  8     A    Correct.
  9     Q    Was it Mr. Shelton that provided you the Oath?
10      A    No, I feel pretty -- I mean, he did here, but
11           I feel pretty confident that I received that
12           from the Sheriff's department, because I know
13           I had to contact them, and I believe they sent
14           that to me.
15      Q    Okay.     Will you take a brief moment to look at
16           this email and the attachments, and just to
17           confirm that this appears to be a complete
18           version?
19      A    (Pause).     It does.
20      Q    And this is the first email of a number of
21           emails that we'll show you, just to confirm.
22           Is that correct?
23      A    Correct.
24      Q    To your knowledge, this was the first in a
25           series of emails?




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  1          accurate.      It depends -- I mean, and I'm not
  2          -- I don't do land appraisals, so I'm not
  3          telling you.       But maybe there -- there may be
  4          no comps in between September 12th of 2016 and
  5          when I did my report, such that it wouldn't
  6          have mattered.       I can't --
  7     Q    We're dealing with maybes there.             I'm just
  8          asking --
  9     A    Yeah, that's right.         You're asking me a
10           question, and I'm telling you it's a
11           hypothetical question that I -- I can't say
12           that it would be more or less accurate.               It
13           might be the same answer.
14      Q    But it would take into account the time period
15           between this appraisal that you relied upon,
16           and anything that occurred in that time span
17           before you created your valuation?
18      A    It would be ideal if -- I'll stick to my
19           answer, because my answer does not involve any
20           hypotheticals, and I can -- I can make that
21           statement with certainty.           It would be ideal
22           if all the appraisals were the same date, then
23           I wouldn't have to answer questions like why
24           is this two years old.          I can't tell you if
25           this would change at all.           I guess Mr. Carr




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  1          would be the person to ask.           Again, it's
  2          entirely possible that there were no
  3          comparables, and that this is the same answer
  4          that he would produce.          I can't say it would
  5          definitely be different.
  6     Q    Did you review this report?
  7     A    I did.
  8     Q    Did you have any issue with this report?
  9     A    No.     I don't do land appraisals.
10      Q    Okay.     Did you have any questions for Mr.
11           Shelton regarding this report?
12      A    No.
13      Q    Did you discuss this report with Mr. Shelton
14           after you received it?
15      A    I don't remember any details.            I know that,
16           again, the biggest difference for me is that
17           this report was for 353 -- again, I'm going
18           off of memory.       I can -- well, let me not go
19           off of memory.       Let me go into the report and
20           say how many acres it was.           (Pause).     353.145
21           acres.     Okay.    So it was for that, and I know
22           the biggest difference here is that that's not
23           the amount that was transferred from Ms.
24           Lollar to Mr. Lollar.
25      Q    Okay.     This is going to be Exhibit 8.            It's




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  1     A    I don't see it.
  2     Q    Now that you've had a chance to refresh
  3          yourself with the documents, do you believe
  4          that the promissory note was provided to you?
  5     A    Perhaps it was not.
  6     Q    Did you review the promissory note before you
  7          made your report?
  8     A    Given that I don't see it in front of me, I --
  9          no, I don't believe I saw the promissory note.
10           I did see the Cash Sale Deed With Vendor's
11           Lien And Special Mortgage.
12      Q    After Mr. Shelton contacted you to ask if you
13           would be available for this, he sent you these
14           emails at some point in time after that.                Is
15           that correct?
16      A    Correct.
17      Q    At that point in time did you contact the
18           Sheriff's office?
19      A    At some point I had to contact them to get --
20           they had to provide -- and again, you know,
21           exact titles of things.          But the Oath of
22           Appraisement, or whatever that document was,
23           you know, I had to tell them this is what the
24           basis of my work is.         They had to prepare that
25           for me, and then I had to drive up and sign




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                                                                      Page 78
  1          it.
  2     Q    So you believe you talked to the Sheriff's
  3          office close to the time that you drove up to
  4          sign your report?
  5     A    Yes.      I mean, again, I really can't remember
  6          if October 19th was a Thursday or a Friday.                I
  7          feel like it was a Friday, and I talked with
  8          them that week.        Okay?    So whether it was
  9          Monday, Tuesday, Wednesday, I did talk with
10           someone and -- talk and exchange emails with
11           someone such that they would have my report
12           which you have previously provided as Exhibit
13           2, and that I would then -- they showed me
14           what I'd be signing, but then I would drive up
15           and sign that.
16      Q    But this was after you had preformed the work.
17           Correct?
18      A    Correct.
19      Q    Did the Sheriff's office provide you any
20           further documentation regarding this task?
21      A    No.
22      Q    You talked to Mr. Shelton before you finalized
23           your report.       Correct?
24      A    That's correct.
25      Q    What did y'all discuss?




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  1     A    Because of the --
  2     Q    -- the person with whom you were dealing?
  3     A    Not -- her name is very unique.             That's why I
  4          know it.
  5     Q    Okay.
  6                          MR. SHELTON:
  7                  Let me see some of the other exhibits
  8                  here.     Don't we have one with the Oath of
  9                  the appraiser attached to it?
10                           MR. POWELL:
11                   I think it's Exhibit 3, Email 2.            Try that
12                   one.
13                           MR. SHELTON:
14                   Oh, here we go.        Okay.   Thank you, Mr.
15                   Powell.
16      BY MR. SHELTON:
17      Q    Exhibit 3 to your deposition has attached to
18           it an Oath of an appraiser.            Right?
19      A    Yes.
20      Q    And it has a description of the note that you
21           were undertaking an oath to appraise.               Is that
22           right?
23      A    Yes.
24      Q    And it states that it was an original
25           promissory note dated November 2, 2017.               Do




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  1          you see that?
  2     A    Yes.
  3     Q    And it states the principal amount of the note
  4          is $1,730,000?
  5     A    Yes.
  6     Q    And it states the interest rate.             Correct?
  7     A    Yes.
  8     Q    And it states the way it was payable, in four
  9          annual consecutive installments of $100,046.
10           Do you see that?
11      A    Yes.
12      Q    And that it states that it was, you know,
13           payable in a final balloon payment that would
14           be due and payable on November 1, 2022.
15      A    Yes.
16      Q    Would that be all the essential terms of a
17           promissory note that you would need to have,
18           you know, from the face of it, to appraise it?
19      A    That's fair.       I guess you -- I could say that
20           if there were covenants that went with it, or
21           other restrictions.         Now, we saw that -- I say
22           "we".     I saw that in the Credit Sale.            I saw
23           information to that nature.           But unless you
24           say that there was more detail than that,
25           that's a fair description of a promissory




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  1          note.
  2     Q    So if there were covenants and restrictions,
  3          then covenants -- you know, restrictions would
  4          further devalue the note.           Is that right?
  5     A    That's correct.
  6     Q    So what you have there would enable you to
  7          give it its best potential value, under the
  8          circumstances?
  9     A    Yes.      And I mean, I can say you have loan
10           agreements and you have promissory notes, and
11           promissory notes are typically very spare
12           documents, similar to what you just wrote that
13           appeared in the publication from the Sheriff's
14           office.      So again, that definition fits the
15           definition of a promissory note.             Now, it
16           could be more than that, but a loan agreement
17           would typically be substantially more than
18           that.
19      Q    On Exhibit 3 it has attached the October 10th,
20           2018 letter that I wrote to you.             And in that
21           letter I tried to convey, and did you
22           understand that you would not be working for
23           Mr. Lucky, but that you would be working for
24           the Sheriff?
25      A    That's correct.




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  1     Q    And was that your understanding, was that the
  2          Sheriff was going to be your client in this
  3          matter?
  4     A    Yes.      At all times that was my understanding.
  5     Q    Okay.      And that you would not be doing this
  6          work for Mr. Lucky; you would be paid by the
  7          Sheriff?
  8     A    That's correct.
  9     Q    Even though Mr. Lucky might pay the Court
10           costs to the Sheriff, you know, you were still
11           to render your opinion for the Sheriff?
12      A    That's correct.
13      Q    And were you ever asked to do anything to try
14           -- you know, to try to artificially lower the
15           value of your appraisal?
16      A    No.
17      Q    Were you given a suggested number for your
18           appraisal?
19      A    No.
20      Q    Did you act completely independently --
21      A    Yes.
22      Q    -- in doing your appraisal?
23      A    Yes.
24      Q    And you worked for the Sheriff.             Correct?
25      A    Yes.




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  1          on the original promissory note is probably
  2          not accurate.
  3     Q    Okay.     Thank you.     No further questions.
  4                       MR. POWELL:
  5                  I've got one followup.
  6     EXAMINATION BY MR. POWELL:
  7     Q    Have you read any pleadings in this matter?
  8                       MS. PARKS:
  9                  I have some questions.
10                        MR. POWELL:
11                   Oh, go ahead.      I'm sorry.
12      EXAMINATION BY MS. PARKS:
13      Q    Hi.     My name is Julianna Parks.          I represent
14           the Bossier Sheriff's Office, and I just have
15           a couple of questions for you.
16      A    Okay.
17      Q    Was it your understanding when you performed
18           this appraisal that you were doing it on
19           behalf of the Bossier's Sheriff's Office?
20      A    Yes.
21      Q    Did anybody ever tell you anything different
22           than that?
23      A    No.
24      Q    Did anyone at the Sheriff's Office ever tell
25           you that they wanted your appraisal to end up




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  1          a certain way?
  2     A    No.
  3     Q    So was it your independent opinion regarding
  4          the value of this note?
  5     A    Yes.
  6     Q    That's all I have.
  7     EXAMINATION BY MR. POWELL:
  8     Q    And my final question is, have you read any
  9          pleadings in this matter?
10      A    Aside from what we've seen here, no.
11      Q    In this current matter.           This is a matter in
12           federal court.        It does not relate to the
13           docket numbers we've discussed so far.
14      A    Right.     I'm not even familiar -- no, I have
15           not.
16      Q    Okay.     Thank you.
17                           MR. POWELL:
18                   That's all I have.
19                           MR. SHELTON:
20                   Read and sign?        I guess you'll want to
21                   read?
22                           THE WITNESS:
23                   I'd like to read it, yes.
24                            (DEPOSITION CONCLUDED 1:03 P.M.)
25




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                                       OATH OF APPRAISER
           Suit No:          (08) 127573               BENTON, LA

                          W. A. Lucky, Ill             26th Judicial District

                                VS                      Parish of Bossier

                      Barbara Marie Carey Carr          State of Louisiana



           STATE OF LOUISIANA
           PARISH OF CADDO

                BEFORE ME, the undersigned authority, personally came and appeared
           PATRICK LACOUR, who, after being duly sworn, deposed and stated:

                  1.    I, Patrick Lacour, have been appointed by Julian C. Whittington, Sheriff of
           Bossier Parish, to value the following described property to be sold in the above
           captioned lawsuit, being the promissory note which is described as follows:

                  That certain original promissory note dated November 2, 2017 made by
                  Ronald William Lollar payable to Barbara Marie Carey Carr Lollar or her
                  order in the principal amount of One Million Seven Hundred Thirty
                  Thousand and No/100ths Dollars ($1 ,730,000.00) plus interest thereon at
                  the rate of four percent (4.0%) per annum until paid, payable in four (4)
                  consecutive annual installments of $100,046.00, the first such installment
                  being due and payable on November 1, 2018, and a final balloon payment
                  equal to all remaining principal and interest then due hereunder, due and
                  payable on November 1, 2022; and

                   2.     Further, I do hereby solemnly swear that I will make a true and just
           appraisal of the above described property, and that, in making said appraisement, I will
           act fairly and impartially and make a true value of what the above described property is
           worth in cash, to the best of my knowledge, information, and belief.




                                                   PATRICK LACOUR

               SWORN TO AND SUBSCRIBED before me, Notary Public, this __ day of
           _ _ _ _ _ _ _ _,, 2018.




                                     NOTARY PUBLIC, _ _ _ _ _ PARISH
                                     Name:_ _ _ _ _ _ _ _ _ _ _ __
                                       Notary I.D./Bar Roll No.: _ __ _
                                           My commission expires: Life




                                                                                               Lacour022
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